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IN THE UNITED STATES DISTRICT WESTERN DISTRICT OF TEXAS

EL PASO DIVISION

UNITED STATES OF AMERICA §
Plaintiff, §
§

Vv. § CASE NO. 3:20-CR-00389-DCG
§
PATRICK WOOD CRUSIUS §
Defendant. §

WAIVER OF DEFENDANT'S PRESENCE AT
SEPTEMBER 25, 2023, RESTITUTION HEARING

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

COMES NOW Defendant in the above-referenced case who, along with his undersigned
attorney, hereby acknowledges the following:

. The defendant understands he has the right to appear personally with his attorney before the Judge
for the Restitution Hearing set on September 25, 2023, at 9:00 a.m. Defendant further understands
that absent the present waiver he will be required to appear in open Court.

. Defendant, having conferred with his attorney in this regard, hereby waives personal appearance
with his attorney at this case's restitution hearing.

Date: e/ 3/ 23 Defendant; f QO G C
Attorney for Defendant: 4. pu
ORDER :

APPROVED by this Court. Defendant's presence is hereby waived for Patrick Crusius.

Date:

UNITED STATES DISTRICT JUDGE GUADERRAMA
